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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF KENTUCKY
                                                LEXINGTON DIVISION


                 IN RE

                 DONALD ANTHONY FITZPATRICK                                                 CASE NO. 24-50512
                 ASHLEY LOUISE FITZPATRICK

                 DEBTOR(S)

                                                             ORDER

                       The Debtor(s) has requested and received relief pursuant to subchapter V of chapter 11 of

                the United States Bankruptcy Code, and the Court finding that one or more of the following

                items was not submitted with the Petition pursuant to 11 U.S.C. § 1187(a) and 11 U.S.C. §

                1116(1):

                                    most recent balance sheet
                                    most recent statement of operations
                                    most recent cash-flow statement
                                    most recent Federal income tax return

                       It is ORDERED that, within 3 days of the date of this Order, Debtor(s) shall file the

                required item(s) accompanied by a declaration of Debtor(s) as required by FED. R. BANKR. P.

                1008, or file a statement made under penalty of perjury that no balance sheet, statement of

                operations, or cash-flow statement has been prepared, and no Federal income tax return has been

                filed. Failure to comply with this Order may result in the dismissal of this case without further

                notice or hearing. This does not limit any party in interest from seeking contempt sanctions,

                dismissal of the case, or any other remedy for failure to comply with this Order.




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                  Signed By:
                                                                  Gregory R. Schaaf
                                                                  Bankruptcy Judge
                                                                  Dated: Tuesday, April 30, 2024
                                                                  (alf)
